                     Case 2:22-cr-00193-GGG-DPC
AO 245C (Rev. 09/19) Amended Judgment in a Criminal Case                Document 53 Filed 10/03/23 (NOTE:
                                                                                                    PageIdentify
                                                                                                          1 of Changes
                                                                                                                 7     with Asterisks (*))
                     Sheet 1


                                         UNITED STATES DISTRICT COURT
                                                            Eastern District of Louisiana
                                                                             )
               UNITED STATES OF AMERICA                                      )       AMENDED JUDGMENT IN A CRIMINAL CASE
                                   v.                                        )
                          KESHAWN KELLY                                      )       Case Number:   22-193
                                                                             )       USM Number:    19016-510
Date of Original Judgment:                    10/3/2023                      )        Valerie Welz Jusselin
                                        (Or Date of Last Amended Judgment)   )       Defendant’s Attorney

THE DEFENDANT:
X pleaded guilty to count(s) 1 and 2 of the Indictment on June 27, 2023.
   pleaded nolo contendere to count(s)
   which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                   Nature of Offense                                                              Offense Ended             Count
                                                                                                                                              1
18 U.S.C. §115(a)(1)(B), (b)(4)   Influencing Federal Officials by Threats
18 U.S.C. §111(a)(1)                                                                                                                          2
                                  Assaulting, Resisting or Impeding Federal Officers.


       The defendant is sentenced as provided in pages 2 through                 7           of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
    The defendant has been found not guilty on count(s)
    Count(s)                                                  is      are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                     October 3, 2023
                                                                                     Date of Imposition of Judgment


                                                                                     Signature of Judge
                                                                                     Greg Gerard Guidry, United States District Judge
                                                                                     Name and Title of Judge

                                                                                     10/5/23
                                                                                  Date
                                                                                 2/15/05
AO 245C (Rev. 09/19) Case
                      Amended 2:22-cr-00193-GGG-DPC
                               Judgment in a Criminal Case       Document 53 Filed 10/03/23 Page 2 of 7
                      Sheet 2 — Imprisonment                                                             (NOTE: Identify Changes with Asterisks (*))
                                                                                                  Judgment — Page         2       of        7
DEFENDANT: KESHAWN KELLY
CASE NUMBER: 22-193

                                                           IMPRISONMENT

      The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of: 20 months. This term consists of 20 months on Count 1 and 12 months on Count 2, to run concurrently.




      The court makes the following recommendations to the Bureau of Prisons:




X     The defendant is remanded to the custody of the United States Marshal.

      The defendant shall surrender to the United States Marshal for this district:
          at                                        a.m.              p.m.   on                                       .
          as notified by the United States Marshal.

      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          before 2 p.m. on                                              .
          as notified by the United States Marshal.
          as notified by the Probation or Pretrial Services Office.



                                                                 RETURN
I have executed this judgment as follows:




     Defendant delivered on                                                         to

at                                                  with a certified copy of this judgment.




                                                                                                 UNITED STATES MARSHAL


                                                                        By
                                                                                              DEPUTY UNITED STATES MARSHAL
 AO 245C (Rev. 09/19) Case
                       Amended 2:22-cr-00193-GGG-DPC
                                Judgment in a Criminal Case    Document 53 Filed 10/03/23 Page 3 of 7
                       Sheet 3 — Supervised Release                                                    (NOTE: Identify Changes with Asterisks (*))
                                                                                                    Judgment—Page      3        of        7
DEFENDANT: KESHAWN KELLY
CASE NUMBER: 22-193
                                                    SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:
(*) 3 years on Count 1 and a term of 1 year on Count 2, to run concurrently.




                                                 MANDATORY CONDITIONS
1.       You must not commit another federal, state or local crime.
2.       You must not unlawfully possess a controlled substance.
3.       You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
         imprisonment and at least two periodic drug tests thereafter, as determined by the court.
               The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
               substance abuse. (check if applicable)
4.       You must make restitution in accordance with 18 U.S.C. § 3663 and 3663A or any other statute authorizing a sentence of
          restitution. (check if applicable)
5.   X   You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.       You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
         reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.       You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached page.
AO 245C (Rev. 09/19) Case
                      Amended2:22-cr-00193-GGG-DPC
                               Judgment in a Criminal Case      Document 53 Filed 10/03/23 Page 4 of 7
                      Sheet 3A — Supervised Release
                                                                                                     Judgment—Page       4      of      7
DEFENDANT: KESHAWN KELLY
CASE NUMBER: 22-193

                                    STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.  You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
    release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
    frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
    when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
    court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
    arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
    the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
    hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
    take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
    doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
    you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
    responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
    days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming
    aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
    convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
    probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
    designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
    first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may require
    you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the person and
    confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                            Date
AO 245C (Rev. 09/19) Case
                      Amended2:22-cr-00193-GGG-DPC
                               Judgment in a Criminal Case   Document 53 Filed 10/03/23 Page 5 of 7
                      Sheet 3D — Supervised Release                                         (NOTE: Identify Changes with Asterisks (*))
                                                                                      Judgment—Page           5      of        7
DEFENDANT: KESHAWN KELLY
CASE NUMBER: 22-193

                                    SPECIAL CONDITIONS OF SUPERVISION

 The defendant shall submit his person, residence, office or vehicle to a search, conducted by a United States Probation
 Officer at a reasonable time in a reasonable manner, based upon reasonable suspicion that contraband or evidence of a
 violation of a condition of supervision may exist; failure to submit to a search may be grounds for revocation; the defendant
 shall warn any other resident(s) that the premises may be subject to searches pursuant to this condition.

 The defendant shall submit to a mental health evaluation. If treatment is recommended, the defendant shall participate in an
 approved treatment program and abide by all supplemental conditions of treatment, to include medication as prescribed.
 Participation may include inpatient/outpatient treatment. The defendant will contribute to the costs of services rendered (co-
 payment) based on ability to pay or availability of third party payment.

 The defendant shall pursue vocational training that will equip him for suitable employment as approved by the United States
 Probation Officer.



 The U. S. Probation Office and the U.S. Attorney's Office are responsible for enforcement of this order.
AO 245C (Rev. 09/19) Case
                     Amended2:22-cr-00193-GGG-DPC
                              Judgment in a Criminal Case         Document 53 Filed 10/03/23 Page 6 of 7
                     Sheet 5 — Criminal Monetary Penalties                                                  (NOTE: Identify Changes with Asterisks (*))
                                                                                                  Judgment — Page      6        of        7
DEFENDANT: KESHAWN KELLY
CASE NUMBER: 22-193
                                            CRIMINAL MONETARY PENALTIES
     The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                    Assessment              Restitution                  Fine                   AVAA Assessment*               JVTA Assessment**
TOTALS (*)       $ 125.00               $                            $                      $                              $
 X       The special assessment is due immediately.
     The determination of restitution is deferred until              . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

     The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                            Total Loss***                          Restitution Ordered                  Priority or Percentage




TOTALS                           $                                        $


     Restitution amount ordered pursuant to plea agreement $

     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

     The court determined that the defendant does not have the ability to pay interest, and it is ordered that:
         the interest requirement is waived for           fine           restitution.

         the interest requirement for the         fine               restitution is modified as follows:



* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
AO 245C (Rev. 09/19) Case
                     Amended2:22-cr-00193-GGG-DPC
                              Judgment in a Criminal Case        Document 53 Filed 10/03/23 Page 7 of 7
                     Sheet 6 — Schedule of Payments                                                          (NOTE: Identify Changes with Asterisks (*))
                                                                                                         Judgment — Page       7     of           7
DEFENDANT: KESHAWN KELLY
CASE NUMBER: 22-193

                                                  SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A         Lump sum payment of $                             due immediately, balance due

              not later than                                    , or
              in accordance with       C,           D,           E, or        F below; or

B         Payment to begin immediately (may be combined with             C,          D, or           F below); or

C         Payment in equal                  (e.g., weekly, monthly, quarterly) installments of                          over a period of
                     (e.g., months or years), to commence                   (e.g., 30 or 60 days) after the date of this judgment; or

D         Payment in equal                   (e.g., weekly, monthly, quarterly) installments of                        over a period of
                      (e.g., months or years), to commence                   (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E         Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F         Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




     Joint and Several

     Case Number
     Defendant and Co-Defendant Names                                                Joint and Several                  Corresponding Payee,
     (including defendant number)                   Total Amount                         Amount                            if appropriate.




     The defendant shall pay the cost of prosecution.

     The defendant shall pay the following court cost(s):

X    The defendant shall forfeit the defendant’s interest in the following property to the United States:
     as stated in the Order.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5)
fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution
and court costs.
